Case 5:21-cv-00875-JD Document 1-6 Filed 09/07/21 Page 1 of 7
Case 5:21-cv-00875-JD Document 1-6 Filed 09/07/21 Page 2 of 7
Case 5:21-cv-00875-JD Document 1-6 Filed 09/07/21 Page 3 of 7
Case 5:21-cv-00875-JD Document 1-6 Filed 09/07/21 Page 4 of 7
Case 5:21-cv-00875-JD Document 1-6 Filed 09/07/21 Page 5 of 7
Case 5:21-cv-00875-JD Document 1-6 Filed 09/07/21 Page 6 of 7
Case 5:21-cv-00875-JD Document 1-6 Filed 09/07/21 Page 7 of 7
